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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA
(West Palm Beach)

CASE NO.: 16-21912-EPK

CHAPTER 13

IN RE: LUIS JAVIER REATEGUI
Debtor
NOTICE OF PAYMENT CHANGE

COMES NOW, KENSINGTON GARDENS CONDOMINIUM ASSOCIATION,
INC. (the “Association”), a secured creditor, by and through its attorneys, ROSSIN &
BURR, PLLC, hereby gives notice under Local Rule 3070-1(B)(1)(a), that the quarterly
COA payments have increased to $324.00, effective January 1, 2018, for a total of
$1,296.00 annually.

The secured creditor requests that the necessary action be taken to ensure that
the correct payments are provided for by the debtor. Any questions regarding this
change should be directed to Rossin & Burr, PLLC.

CERTIFICATE OF SERVICE

| HEREBY CERTIFY that on this day, April 24, 2018, | electronically filed the
foregoing with the Clerk of the Court by using the CM/ECF system, and a true and
correct copy of the foregoing has been served via CM/ECF or U.S. Mail upon the

following:

Debtor via 1° class mail: Luis Javier Reategui, 9498 S. Military Trail, Unit 1, Boynton
Beach, FL 33436

Attorney for Debtor via email: Ricardo Corona, Esquire, bk@coronapa.com
Chapter 13 Trustee via email: ecf@ch13weiner.com; ecf2@chi3weiner.com

Office of the US Trustee via email: USTPRegion21.MM.ECF@usdoj.gov

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Bosco Credit II Trust Series 10-00001 via email: Kevin A. Comer, Esquire;
kevin.comer@mccalla.com

 

Bosco Credit II Trust Series 10-00001 via email: Taji S. Foreman, Esquire;
tforeman@kahaneandassociates.com

Kensington Gardens Condominium Association, Inc. via email: Tania Ochoa,
Esquire; ochoalawecf@qmail.com

| HEREBY CERTIFY that | am admitted to the Bar of the United States District
Court for the Southern District of Florida and | am in compliance with the additional
qualifications to practice in this court set forth Local Rule 2090-1(A).

ROSSIN & BURR, PLLC
Attorneys for Creditor

1550 Southern Bivd., Suite 100
West Palm Beach, FL 33406
Phone: (561) 839-2959

Fax: (561) 249-1306

Email: rbb@rossinburrlaw.com

By: /s/ Robert B. Burr
Florida Bar No. 820687

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